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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *

       v.                                        *

DUSTIN HIGGS,                                    *          Criminal No.: PJM-98-520

       Petitioner.                               *

                                             ...oOo...

                                            NOTICE

       In the matter of Federal Bureau of Prisons’ Execution Protocol Cases, Case No. 19-mc-

0145 (TSC), the U.S. District Court for the District of Columbia has ordered the parties to file a

status report on December 28, 2020 regarding “whether the U.S. District Court for the District of

Maryland has designated a state other than Maryland to carry out Plaintiff Higgs’s execution.”

The parties in this case have completed briefing on the government’s request that this Court order

that Dustin Higgs’s sentence be implemented in the State of Indiana in the manner prescribed by

the law of that State. See 18 U.S.C. § 3596(a) (“If the law of the State does not provide for

implementation of a sentence of death, the court shall designate another State, the law of which

does provide for the implementation of a sentence of death, and the sentence shall be implemented

in the latter State in the manner prescribed by such law.”) (emphasis added). And we are now less

than three weeks from the scheduled date of Dustin Higgs’ execution (January 15, 2021). To give

other courts as well as family members of the victims and personnel at the Federal Bureau of

Prisons much-needed clarity, and for the additional reasons articulated by the government in its

briefs (ECF Nos. 640 and 644) and during this Court’s December 8 status conference, we

respectfully urge the Court to rule on the government’s request by December 28. If this Court is

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unable to rule by then, we respectfully urge the Court to rule no later than December 31.



                                                    Respectfully submitted,


                                                    Robert K. Hur
                                                    United States Attorney

                                             By:    __________/s/____________________
                                                    Ellen E. Nazmy
                                                    Special Assistant United States Attorney

                                                    _________/s/_______________
                                                    Sandra Wilkinson
                                                    Assistant United States Attorney




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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 25, 2020, a copy of the foregoing Notice was
delivered via ECF to counsel for the Defendant.


                                       By:    __________/s/____________________
                                              Ellen E. Nazmy
                                              Special Assistant United States Attorney




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